 1
                                                                         Judge: Christopher M. Alston
 2                                                                                         Chapter: 7
                                                                            Hearing Location: Seattle
 3                                                                     Hearing Date: February 6, 2020
                                                                             Hearing Time: 1:30 p.m.
 4                                                                    Response Date: January 30, 2020
 5
 6
 7
                          UNITED STATES BANKRUPTCY COURT
 8
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     IN RE
10                                                         Bankruptcy No. 18-12299-CMA
     JASON L. WOEHLER,
11                          DEBTOR.                        Adversary No. 18-01169-CMA
     _____________________________________
12
                                                               PLAINTIFF’S REPLY TO DEBTOR’S
     RUSSELL BRANDT,
13                                Plaintiff                    OPPOSITION TO PLAINTIFF’S
             v.                                                MOTION FOR SUMMARY
14                                                             JUDGMENT
     JASON L. WOEHLER,
15                               Defendant.
16
                                       I.        INTRODUCTION
17
             COMES NOW Plaintiff, RUSSELL BRANDT, (“Plaintiff”) by and through counsel, and
18
     respectfully files this Reply to Debtor’s Opposition to Plaintiff’s Motion for Summary Judgment.
19
20   Plaintiff incorporates by reference Plaintiff’s Opposition to Debtor’s Motion for Partial Summary

21   Judgment, which fully addresses Plaintiff’s claim under 11 U.S.C. §523(a)(6).

22           Debtor’s response to Plaintiff’s Motion For Summary Judgment does not contest that he

23   made misrepresentations in his schedules, instead it is “whether misstatements in the schedules
24   and statements are sufficient to deny [Debtor] a discharge under 11 U.S.C. §727(a)(4).” (Dkt. No.
25   18 at 2). Debtor also does not deny failing to follow the Court’s orders, but instead seeks to
26   minimize his failure to follow the Court’s order and mischaracterizes the ways in which he
27    PLAINTIFF’S REPLY                                                      Leonard Law
      18-01169-CMA - 1                                                  1001 4th Ave, Suite 3200
                                                                           Seattle, WA 98154
                                                                 Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA         Doc 20        Filed 02/03/20    Ent. 02/03/20 18:13:43        Pg. 1 of 8
 1   disobeyed the Court’s order. Debtor’s defense is consistent with his pattern of producing
 2   explanations after he is called out for his misrepresentations.
 3          Debtor is not a good faith debtor entitled to discharge under 11 U.S.C. §727. Debtor’s new
 4
     assertions in his Opposition to Plaintiff’s §727 motion reveal Debtor’s standard operating
 5
     procedure is to act willfully in spite of knowledge of the consequences, a posture that he attempts
 6
     to minimize as “Hobson’s choice[s]” and “miscommunications and glitches.” (Dkt. 18-1, p. 3-5.)
 7
     His Opposition brief actually solidifies Plaintiff’s claim under §523(a)(6) and does not create a
 8
     material issue of fact that defeats a summary judgment finding of nondischargeability.
 9
                                               II.     FACTS
10
11          Plaintiff incorporates by reference all relevant material facts regarding Mr. Brandt’s claim

12   of nondischargeability previously adjudicated in Brandt v. Columbia Credit Servs., Case No. 2:17-

13   cv-703-RSM (hereinafter “Collection Abuse Matter”), Plaintiff’s Motion for Summary Judgment

14   (Dkt. 15) and Exhibits (Dkt. 16) and Plaintiff’s Opposition to Debtor’s Motion for Partial
15   Summary Judgment (Dkt. 17). In the interest of brevity and judicial economy, these facts will not
16   be repeated here.
17
            In his response, Debtor admits that he did not comply with a Court order and appear at a
18
     341 hearing. (Dkt. 18 at 2). He claims that his failure to appear at his 341 hearing as ordered by
19
     the Court was a scheduling error. (Dkt. 18 at 2). He claims he does not know when he is going to
20
     be in trial. (Dkt. 18-1, p. 3, ¶7). His explanation fails to address his failure to provide
21
     “documentation of all sources of [his] income” as ordered by the Court. (See Dkt. 39 at 1 in original
22
     action (emphasis in the original)). Debtor also claims to have not known the balance in his Wells
23
24   Fargo bank account. (Dkt. 18-2, p. 2.) He does not explain why or how he could not simply look

25   up this information (Dkt. 18-1, p. 5, ¶12). It is the Debtor’s responsibility to disclose assets and

26   ensure that those assets that are disclosed are accurate and his failure to disclose $35,000 in assets

27    PLAINTIFF’S REPLY                                                       Leonard Law
      18-01169-CMA - 2                                                   1001 4th Ave, Suite 3200
                                                                            Seattle, WA 98154
                                                                  Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA           Doc 20     Filed 02/03/20     Ent. 02/03/20 18:13:43         Pg. 2 of 8
 1   is material. Debtor admits failing to include “sporadic” income from Fiduciary Services
 2   Foundation, “occasional small fees from former clients” and a “small monthly auto reimbursement
 3   from Merchants Credit.” (Dkt. 18-1, p. 3.) Debtor then admits that he engages in fee splitting with
 4
     his collection agency client FAI on his WSU accounts: “FAI recovers any attorney’s fees, those
 5
     fees are not paid to me.” (Dkt. 18-1, p. 4, ¶10.) Fee splitting is prohibited under Wash. RPC 5.4. 1
 6
             He also admits that he initially filed for Chapter 13 to stay Plaintiff’s case in District Court,
 7
     and claims it was also to “make structured payments over time of the expected
 8
     judgment…and…other debts” (Dkt. 18-1, p. 1, ¶1). He claims that following Mr. Brandt’s
 9
     judgment, it “became apparent that [his] income was not enough to pay all creditors” (Dkt. 18-1,
10
11   p. 2, ¶3). Only after then, and following many irregularities in this bankruptcy, did Debtor locate

12   a friend who was able to loan him money to repurchase the non-exempt equity in his house,

13   suggesting that all along he could have satisfied his creditors short of filing bankruptcy. (Dkt. 18-

14   1, p. 6, ¶14.)
15                                              III.    AUTHORITY
16           A. Summary Judgment Standard.
17           A Court shall grant summary judgment “if the pleadings, the discovery and disclosure
18
     materials on file, and any affidavits show that there is no genuine issue as to any material fact and
19
     that the movant is entitled to judgment as a matter of law.” Civil Rule 56(c)(2), as incorporated by
20
     Rule 7056; Barboza v. New Form, Inc. (In re Barboza), 545 F.3d 702, 707 (9th Cir. 2008).
21
     Summary judgment is appropriate where the movant shows that there is no genuine dispute as to
22
     any material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c);
23
     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A
24
25
       1
         Fee splitting is barred under Washington Rule of Professional Responsibility 5.4. The comment to Wash. RPC
26   5.4 explains rules barring fee splitting “are to protect the lawyer's professional independence of judgment.”
27    PLAINTIFF’S REPLY                                                             Leonard Law
      18-01169-CMA - 3                                                         1001 4th Ave, Suite 3200
                                                                                  Seattle, WA 98154
                                                                        Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA              Doc 20      Filed 02/03/20       Ent. 02/03/20 18:13:43           Pg. 3 of 8
 1   court, on a motion for summary judgment, should view all the evidence and draw all inferences in
 2   the light most favorable to the non-moving party. Anderson, 477 U.S. at 255; Sullivan v. U.S.
 3   Dep’t of the Navy, 365 F.3d 827, 832 (9th Cir. 2004).
 4
            Once the moving party properly supports its motion for summary judgment, the non-
 5
     moving party must establish a genuine issue of material fact in order to preclude a grant of
 6
     summary judgment. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
 7
     “The mere existence of some alleged factual dispute between the parties will not defeat an
 8
     otherwise properly supported motion for summary judgment.” Anderson v. Liberty Lobby, Inc.,
 9
     477 U.S. 242, 247- 248 (1986). In addition, “a complete failure of proof concerning an essential
10
11   element of the non-moving party’s case necessarily renders all other facts immaterial.” Celotex,

12   477 U.S. at 323. The substantive law upon which each claim rests determines the facts that are

13   “material.” Anderson, 477 U.S. at 248.

14          B. Section 727: Debtor’s Deception.

15          Denial of a discharge is appropriate under section 727(a)(4)(A) if the plaintiff shows by a

16   preponderance of the evidence that “(1) the debtor made a false oath in connection with the case;

17   (2) the oath related to a material fact; (3) the oath was made knowingly; and (4) the oath was made

18   fraudulently.” In re Roberts, 331 B.R. 876, 882 (9th Cir. BAP 2005). A single false oath involving
19   a material false statement or omission in a debtor's schedules is all that is required for denial of
20   discharge, if it detrimentally affects administration of the estate. In re Kahle, No. 11-61359-13,
21
     2013 Bankr. LEXIS 515, at *28-29 n.13 (Bankr. D. Mont. Feb. 8, 2013) (citing Fogal Legware of
22
     Switzerland, Inc. v. Wills (In re Wills), 243 B.R. 58, 62 (9th Cir. BAP 1999); In re Wright, 364
23
     B.R. 51, 57 (Bankr. D. Mont. 2007)).
24
            A “false oath” can be a false statement or omission in the debtor’s schedules. Fogal, 243
25
     B.R. at 62. A false oath can also be a false statement under oath at a meeting of creditors. See Cork
26
27    PLAINTIFF’S REPLY                                                      Leonard Law
      18-01169-CMA - 4                                                  1001 4th Ave, Suite 3200
                                                                           Seattle, WA 98154
                                                                 Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA          Doc 20     Filed 02/03/20      Ent. 02/03/20 18:13:43        Pg. 4 of 8
 1   v. Gun Bo, LLC (In re Cork), 566 B.R. 237, 253 (D. Ariz. 2017). Debtor made numerous false

 2   oaths in his schedules and at his multiple meeting of creditors.

 3                                          IV.     ARGUMENT
 4           A. Debtor Is Not Entitled to a Discharge Pursuant to §727.
 5           Debtor admits he has made misstatements regarding his income and assets. The UST’s
 6
     audit found that Debtor made “one or more material misstatements,” and Debtor did not dispute
 7
     the UST’s characterization. Debtor has failed to supply plausible explanations for all of his
 8
     misrepresentations in his schedules, and has thus failed to create a triable issue of material fact on
 9
     Plaintiff’s §727 claim. Just one material false statement is all that is needed. Despite Debtor and
10
     his counsel offering explanations for some of the omissions and inconsistencies in the schedules
11
     and reasons for failing to follow the Court’s order, the fact remains that certain misrepresentations
12
13   and his failure to abide the Court’s orders have no plausible explanation whatsoever:

14           (1) Debtor failed to appear at his 341 hearing as Ordered, he failed to provide the trustees

15   with all the records he was required to produced at his multiple 341 hearings, he failed to make

16   plan payments as ordered and has shown a shocking disregard for this Court authority. (See Dkt.
17   52 in original action). There is no excuse given as to why the Debtor, who has substantial income,
18   did not make his plan payment as ordered by the Court. (See Dkt. 39, original action). There is no
19
     excuse for Debtor’s failure to appear at his originally scheduled 341 with all of the required
20
     documentation, or at his continued 341s with all required documents.
21
             (2) It is wholly implausible for a Debtor who is an attorney to not know, and not have
22
     readily available, the balance in his bank account, or remember approximately when he was last
23
     paid by his own clients. (Dkt. 18-1, p. 2, ¶4.) Debtor pays short shrift to a $35,000 oversight that
24
     is material.
25
26
27    PLAINTIFF’S REPLY                                                       Leonard Law
      18-01169-CMA - 5                                                   1001 4th Ave, Suite 3200
                                                                            Seattle, WA 98154
                                                                  Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA           Doc 20     Filed 02/03/20     Ent. 02/03/20 18:13:43         Pg. 5 of 8
 1           (3) Debtor wholly fails to address the finding of the UST’s audit which found he made
 2   numerous material misstatements of income and assets. (Dkt. 80, Original Action)
 3           (4) It is equally implausible for Debtor, an attorney who practices in the area of debtor-
 4
     creditor law, to “overlook” three different sources of income, Fiduciary Services Foundation, fees
 5
     from clients, and an automobile reimbursement that might seem minor to Debtor, but add up over
 6
     time. (Dkt. 18-1, p. 3, ¶6.)
 7
             (5) Debtor has not explained the disarray in his house or otherwise responded to Plaintiff’s
 8
     assertion that he was interfering with the sale of the home in bad faith. (Dkt. 18-1, p. 5, ¶12; Ex.
 9
     A, Declaration of Rik Jones describing disarray and other issues he observed.)
10
11           Debtor expects the Court to somehow hold Debtor to a more lenient standard under §727

12   simply because he is a busy attorney working for three different collection agencies, has a high

13   volume of cases, is frequently on the road, and forgets to bring his calendar. (Dkt. 18-1, p. 3, ¶7.)

14   A lawyer, however, is not too busy to know how much money he has and where it comes from.
15   He simply cannot plausibly state that he did not know these amounts and facts, and has admitted
16   he filed the Chapter 13 to delay Plaintiff’s obtaining a judgment against him. Debtor has only
17
     “remembered” certain resources when caught in the misrepresentation. Debtor came to this Court
18
     fraudulently, and his thin excuses do not defeat Plaintiff’s otherwise supported motion for
19
     summary judgment.
20
             An attorney and officer of the Court should not violate a Court order in multiple ways and
21
     fail to provide documents necessary for his 341 hearing, on multiple occasions. Debtor cannot
22
     plausibly state that he is more unaware of his income and assets than the average debtor; a lawyer
23
24   can reasonably be expected to be more accurate the first time with his schedules. The fact that

25   Debtor did not, and has no plausible explanations for why he forgot to accurately disclose or

26   disclose at all key pieces of income and assets, makes Plaintiff’s success on the §727 claim

27    PLAINTIFF’S REPLY                                                      Leonard Law
      18-01169-CMA - 6                                                  1001 4th Ave, Suite 3200
                                                                           Seattle, WA 98154
                                                                 Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA             Doc 20   Filed 02/03/20     Ent. 02/03/20 18:13:43        Pg. 6 of 8
 1   inevitable. Debtor’s declaration that he “did not intentionally disregard” and has been “truthful to
 2   the best of [his] ability” does not defeat Plaintiff’s otherwise supported motion for summary
 3   judgment, and this Court should grant it.
 4
                                           V.       CONCLUSION
 5
            For the reasons detailed herein, Plaintiff requests that the Court grant Plaintiff’s motion.
 6
     Mr. Brandt requests an award of attorneys’ fees incurred in this action and leave to file a motion
 7
     for fees should the Court grant Plaintiff’s request.
 8
        DATED this 3rd day of February, 2020.
 9
10                                              S//Samuel Leonard_________________
                                                SAMUEL LEONARD (WSBA #46498)
11                                              Leonard Law
                                                1001 4th Ave. #3200, Seattle, WA 98154
12                                              Ph. 206.486.1176
                                                Fx. 206.458.6028
13
                                                sam@seattledebtdefense.com
14
                                                S//SaraEllen Hutchison________________
15                                              SARAELLEN HUTCHISON (WSBA #36137)
                                                Law Office of SaraEllen Hutchison, PLLC
16                                              539 Broadway, Tacoma, WA 98402
17                                              Telephone: (206) 529-5195
                                                Facsimile: (253) 302-8486
18                                              Email: saraellen@saraellenhutchison.com

19
                                                Attorneys for Creditor Russell Brandt
20
21
                                       CERTIFICATE OF SERVICE
22
            I hereby certify under penalty of perjury under the laws of the State of Washington that on
23
     the 3rd day of February 2020, I electronically filed the foregoing with the Clerk of Court using
24
25   the CM/ECF system which will automatically serve and send email notification of such filing to

26   all registered attorneys of record.

27    PLAINTIFF’S REPLY                                                        Leonard Law
      18-01169-CMA - 7                                                    1001 4th Ave, Suite 3200
                                                                             Seattle, WA 98154
                                                                   Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA           Doc 20        Filed 02/03/20    Ent. 02/03/20 18:13:43        Pg. 7 of 8
 1   Dated this 3rd day of February, 2020 at Tacoma, Washington.
 2                                        S//SaraEllen Hutchison________________
                                          SARAELLEN HUTCHISON (WSBA #36137)
 3
                                          Law Office of SaraEllen Hutchison, PLLC
 4                                        539 Broadway, Tacoma, WA 98402
                                          Telephone: (206) 529-5195
 5                                        Facsimile: (253) 302-8486
                                          Email: saraellen@saraellenhutchison.com
 6
 7                                        Counsel for Plaintiff/Creditor Russell Brandt
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27    PLAINTIFF’S REPLY                                                  Leonard Law
      18-01169-CMA - 8                                              1001 4th Ave, Suite 3200
                                                                       Seattle, WA 98154
                                                             Ph. (206) 486-1176 Fax (206) 458-6028
      Case 18-01169-CMA        Doc 20    Filed 02/03/20    Ent. 02/03/20 18:13:43         Pg. 8 of 8
